                       IN THE UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF TENNESSEE


  ANDREW JOSTEN LOVINGOOD                               )
                                                        )
          Plaintiff,                                    )
                                                        )       Docket No.: 3:19-CV-00009
                                                        )
  v.                                                    )
                                                        )
  BILL JOHNSON,                                         )
  DERRICK GRAVES, and                                   )
  MONROE COUNTY, TENNESSEE                              )
                                                        )
          Defendants.                                   )

                          JOINT MOTION TO CONTINUE TRIAL DATE


       COMES NOW, the plaintiff along with counsel for the defendants and respectfully requests

  by Joint Motion that this Honorable Court continue the trial in this matter. In support the parties

  submit the following:

       1. This matter is currently set for trial on August 24, 2021.

       2. The parties have engaged in discovery and as a result Summary Judgment Motions were

       filed [See Doc.23, 25, and 48] and a Memorandum and Opinion entered [Doc. 57]. The Order

       dismissed Monroe County however, Defendants Johnson and Graves remain. id.

       3. Counsel for Plaintiff currently has a Criminal trial scheduled in the Eastern District Court

       of Tennessee (Greeneville Venue) before this Honorable Court on August 10, 2021. See

       United States v. Charles Wallace Case No. 2:19-CR-00151. Furthermore, counsel will not be

       able to prepare the Lovingood matter for trial with less than two weeks between these trial

       dates.

       4. Counsel for Defendant Johnson currently has a matter scheduled for trial the week of


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Case 3:19-cv-00009-DCLC-JEM Document 58 Filed 07/09/21 Page 1 of 3 PageID #: 735
        August 24, 2021in the Eastern District Court of Tennessee. See Roysdon v. Morgan County

        et al.

        5. The Plaintiff in this matter recently lost his father, Mayor Bob Lovingood of Monroe

        County and continues to grief his fathers unexpected death. See Lovingood News Article -

        WBIR.

        RESPECTFULLY SUBMITTED, this the 9th day of July, 2021.




            THE BOWLIN LAW FIRM P.C.                                  TAYLOR and KNIGHT

  By:        s/ Troy L. Bowlin II
            _________________________for  The Firm                     s/ Arthur Knight
                                                                      ________________________
            Troy L. Bowlin, II No. 025893                             Arthur Knight
            Attorney for Plaintiff                                    Attorney for Monroe County
            First Tennessee Plaza                                     and Bill Johnson
            800 South Gay St. Suite 2131                              800 South Gay St. Suite 600
            Knoxville, Tennessee 37929                                Knoxville, TN 37929
            Telephone: 865.245.2011                                   aknight@arthurknight.com
            troy@tblf-pc.com


            HINDMAN and LANZON


             s/ Scott Lanzon
            _________________________
            Scott Lanzon
            Attorney for Derrick Graves
            500 Main St. Suite 550
            Knoxville, TN 37902
            hindmanlaw@aol.com




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Case 3:19-cv-00009-DCLC-JEM Document 58 Filed 07/09/21 Page 2 of 3 PageID #: 736
                                 CERTIFICATE OF SERVICE

         I hereby certify that, a copy of the foregoing Motion to Extend Time was transmitted for
     service via Pacer and this Court’s Electronic Court Filing System to counsel of record for all
     parties.

                                                     THE BOWLIN LAW FIRM P.C.



                                              By:       _______________________ for The Firm
                                                     Troy L. Bowlin, II No. 025893
                                                     Attorney for Plaintiff
                                                     First Tennessee Plaza
                                                     800 South Gay St. Suite 2131
                                                     Knoxville, Tennessee 37929
                                                     Telephone: 865.245.2011
                                                     troy@tblf-pc.com




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Case 3:19-cv-00009-DCLC-JEM Document 58 Filed 07/09/21 Page 3 of 3 PageID #: 737
